                       Case 1:22-cr-00057-RCL Document 37 Filed 10/05/22 Page 1 of 7

AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 1



                                           UNITED STATES DISTRICT COURT
                                                                  District of Columbia
                                                                              )
                 UNITED STATES OF AMERICA                                     )       JUDGMENT IN A CRIMINAL CASE
                                   V.                                         )
                        KENNETH RADER                                         )
                                                                                     Case Number: 22-CR-57 (RCL)
                                                                              )
                                                                              )      USM Number: 82502-509
                                                                              )
                                                                              )        Brad Hansen
                                                                              )      Defendant's Attorney
THE DEFENDANT:
Ill pleaded guilty to count(s)          Four (4) of the Information
D pleaded nolo contendere to count(s)
   which was accepted by the court.
D was found guilty on count(s)
  after a plea of not guilty .

The defendant is adjudicated guilty of these offenses:

Title & ection                    Nature of Offense                                                             Offense Ended
40 USC 5104(e)(2)(G)              Parading, Demonstrating, or Picketing in a Capitol Building                    1/6/2021                       4




       The defendant is sentenced as provided in pages 2 through             _ _7_ _         of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)
It'.! Count(s)         One through Three                   Dis        lli are dismissed on the motion of the United States.
           It is ordered th at the defen dant must notify the United States attorney fo r this district witl1in 30 days of any change of name, residence,
Qr mai ling_ add ress until a ll fi nes, restitution costs a nd special assessments imposed by this j udgment are fu lly paid. If ordered to pay restitution,
t he defenaant must notify the court and -United States attorney of material changes in econonu c circumstances.

                                                                                                              9/29/2022
                                                                            Date oflmposition of Judgment




                                                                            Signature of Judge




                                                                                       Honorable Royce C. Lamberth, U.S.D.C. Judge
                                                                            Name and Title of Judge




                                                                            Date
                      Case 1:22-cr-00057-RCL Document 37 Filed 10/05/22 Page 2 of 7

AO 245B (Rev. 09/19) Judgment in Criminal Case
                     Sheet 2 - Imprisonment

                                                                                                     Judgment -   Page   -=2-   of    7
DEFENDANT: KENNETH RADER
CASE NUMBER: 22-CR-57 (RCL)

                                                            IMPRISONMENT
          The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
total term of:

 90 days




      D The court makes the following recommendations to the Bureau of Prisons:




     D The defendant is remanded to the custody of the United States Marshal.

     D The defendant shall surrender to the United States Marshal for this district:
           D at
                    - - -- -- - --- D                a.m.     D p.m.       on

           D as notified by the United States Marshal.

     Ill   The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

           D before 2 p.m. on
           Gt as notified by the United States Marshal or as notified by the Probation or Pretrial Services Office.




                                                                 RETURN
I have executed this judgment as follows :




           Defendant delivered on                                                      to

at _ _ _ __ __ _ _ __ _ __ __ , with a certified copy of this judgment.



                                                                                                  UNITED STATES MARSHAL



                                                                        By   - -- -------== =cc=--==-=-c=--c-::==--.,-= -=- :- :-- - - - -
                                                                                        DEPUTY UNITED STATES MARSHAL
                       Case 1:22-cr-00057-RCL Document 37 Filed 10/05/22 Page 3 of 7
AO 245B (Rev. 09/19)   Judgment in a Crim inal Case
                       Sheet 4-Probation
                                                                                                           Judgment- Page _ _3_   of        7
 DEFENDANT: KENNETH RADER
 CASE NUMBER: 22-CR-57 (RCL)
                                                                PROBATION
 You are hereby sentenced to probation for a term of:


       36 months (3 years)




                                                      MANDATORY CONDITIONS
1.      You must not commit another federal, state or local crime.
2.      You must not unlawfully possess a controlled substance.
3.      You must refrain fro m any unlawful use of a controlled substance. You must submjt to one drug test within 15 days of placement on
        pro bation and at least two periodic drug tests thereafter as detem1ined by the court.
                D The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
                    substance abuse. (check if applicable)
4.       D You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
5.       D You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.)
              as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
              reside, work, are a sh1dent, or were convicted of a qu ali fy ing offense. (check if applicable)
6.       D You must participate in an approved program for domestic violence. (check if applicable}
7.       ~ You must make restitution in accordance with 18 U.S .C. §§ 2248, 2259, 2264, 2327, 3663, 3663A, and 3664. (check if applicable)
8.      You must pay the assessment imposed in accordance with 18 U.S.C. § 3013 .
9.      If this judgment imposes a fi ne yo u must pay in accordance with the Schedule of Payments sheet of this j udgment.
I 0.    You must notify the court of any material ch ange in your economic circumstances that might affect your ability to pay restitution,
        fines, or special assessments.


You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
                        Case 1:22-cr-00057-RCL Document 37 Filed 10/05/22 Page 4 of 7
 AO 245B (Rev. 09/19)    Judgment in a Criminal Case
                         Sheet 4A - Probation
                                                                                                    Judgment-Page   --~4_ _      of   - - ~ 7_ __
 DEFENDANT: KENNETH RADER
 CASE NUMBER: 22-CR-57 (RCL)

                                          STANDARD CONDITIONS OF SUPERVISION
As part of your probation you musr amply with the following standard conditions of supervision. These conditions are imposed because
they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation officers
to keep infonned, report to the court about, and bring about improvements in your conduct and condition.

 1.     You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of the time
        you were sentenced, unless the probation officer instructs you to report to a different probation office or within a different time frame.
2.       After initially repo11ing to the probation office you wil l receive instructions from the court or the probation officer about how and
        when you must report to the probation officer, and you must report to the probation officer as instructed.
3.      You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
        court or the probation officer.
4.      You must answer tTuthfully the questions asked by your probation officer.
5.      You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
        arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
        the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
        hours of becoming aware of a change or expected change.
6.      You must allow lhe probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
        take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.      You must work -fu IJ time (at least 30 hours per week) at a lawful type of employment unless the probation officer excuses you from
        doing so. lf you do not have fu II-time employment you must try to find full-time employment unless the probation officer excuses
        you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
        res ponsibUities), you must notify the probation offi cer at least IO days before the change. If notifying the probation officer a1 least 10
        days in advance is not possible due to unanticipated circumstances you must nbtify the probation officer within 72 hours of
        becoming aware ofa change or expected change.
8.      You must not communicate or interact with someone you know is engaged in orjminal activity. If you knov, someone has been
        convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
        probation officer.
9.      If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
l 0.    You must not own possess, or have access to a fireann, ammu1Tition destmctive devic or dangerous weapon (i.e., anything that was
        designed or was modified for the specific purpose of causing bodily injury or death to an0ther p rson such as nunchakus or tasers .
I, I.   You must not act or make any agreement with ·a law enforcement agency to act as a confidenti al bu man source or infonuant without
        first getting the permission of the cou11.
12.     Tfthe probation officer d termines that you pose a risk to another person (i ncluding an organization) the probation officer may
        require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
        person and confirm that you have notified the person about the risk.
13.     You must fol.low the instructions of the probation officer related to the conditions of supervision.


U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.

Defendant's Signature                                                                                       Date
                       Case 1:22-cr-00057-RCL Document 37 Filed 10/05/22 Page 5 of 7
AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 4B - Probation
                                                                                            Judgment-Page   _5_   of _ _7~_
DEFENDANT: KENNETH RADER
CASE NUMBER: 22-CR-57 (RCL)

                                                ADDITIONAL PROBATION TERMS

 The court authorizes the transfer of supervision to the United States Northern District of Iowa.

 You shall comply with the following special conditions:

 1. Substance Abuse Treatment - You must participate in an inpatient and/or outpatient substance abuse treatment program
 and follow the rules and regulations of that program. The probation officer will supervise your participation in the program
 (provider, location, modality, duration, intensity, etc.).

 2. Substance Abuse Testing - You must submit to substance abuse testing to determine if you have used a prohibited
 substance. You must not attempt to obstruct or tamper with the testing methods.

 The Probation Office shall release the presentence investigation report to all appropriate agencies, which includes the
 United States Probation Office in the approved district of residence, in order to execute the sentence of the Court.
 Treatment agencies shall return the presentence report to the Probation Office upon the defendant's completion or
 termination from treatment.

 NOTICE OF APPEAL

Pursuant to 18 USC§ 3742, you have a right to appeal the sentence imposed by this Court if the period of imprisonment is
longer than the statutory maximum . If you choose to appeal, you must file any appeal within 14 days after the Court enters
judgment.

As defined in 28 USC § 2255, you also have the right to challenge the conviction entered or sentence imposed if new and
currently unavailable information becomes available to you or, on a claim that you received ineffective assistance of
counsel in entering a plea of guilty to the offense(s) of conviction or in connection with sentencing.

If you are unable to afford the cost of an appeal, you may request permission from the Court to file an appeal without cost
to you .
                       Case 1:22-cr-00057-RCL Document 37 Filed 10/05/22 Page 6 of 7
AO 245B (Rev 09/19)    Judgment in a Criminal Case
                       Sheet 5 - Criminal Monctnry Penalties
                                                                                                             Judgment - Page _ _6~ _ of        7
DEFENDANT: KENNETH RADER
CASE NUMBER: 22-CR-57 (RCL)
                                               CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                      Assessment              Restitution                                             AVAA Assessment*          JVTA Assessment**
TOTALS              $ 10.00                 $ 500.00                    $                         $                         $



D The determination ofrestitution is deferred until - -- - -. An Amended Judgment in a Criminal Case (AO 245C) will be
      entered after such determination.

[!1 The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      lfthe defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
      the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 36640), all nonfederal victims must be paid
      before the U nited States is prud.

Name of Pavee                                                   Total Loss***                     llestitutioo O1·dered    Priority or Pe1·centage
  Architect of the Capitol                                                                                      $500.00

  Office of the Chief Financial Officer

  Attn: Kathy Sherill, CPA

  Ford House Office Building

  Room H2-205B

  Washington, D.C. 20515




TOTALS                               $                           0.00              $                      500.00
                                                                                       - - - - - - - - --

D     Restitution amount ordered pursuant to plea agreement $

D     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

Ill   The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      !ill   the interest requirement is waived for the         D fine      !ill   restitution.

      D the interest requirement for the           D     fine    D restitution is modified as follows:

* Amy, Vicky, and Andy Chi ld Pomowaphy Victim Assistance Act of2018 Pub. L. No. 115-299.
** Justice for Victims of Trafficking Act of2015, Pub. L. ·. o. 114-22.
** *'Find ings for the total amount of losse-s are required under Chapters 109A, 110, l IOA, and 113A of Title 18 for offenses committed on
or after September 13, 1994 but before April 23 1996.
                       Case 1:22-cr-00057-RCL Document 37 Filed 10/05/22 Page 7 of 7
AO 245B {Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 6 - Schedule of Payments

                                                                                                           Judgment -   Page ______J___ of       7
 DEFENDANT: KENNETH RADER
 CASE NUMBER: 22-CR-57 (RCL)

                                                        SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A    ~      Lump sum payment of$         510.00              due immediately, balance due

             □      not later than                              , or
             liZl   in accordance with
                                         □ C,       □    D,   □ E, or      Ill   F below; or

 B    □ Payment to begin immediately (may be combined with               □ c,        OD,or       D F below); or
C     D Payment in equal            _ _ __ _ (e.g., weekly, monthly, quarterly) installments of $ _ ___ over a period of
                           (e.g. , months or years), to commence _ ____ (e.g., 30 or 60 days) after the date of this judgment; or

D     O Payment in equal           _ _ ___ (e .g., weekly, monthly, quarterly) installments of $ _ _ _ over a period of
                           (e.g., months or years), to commence _ _ ___ (e.g., 30 or 60 days) after release from imprisonment to a
             term of supervision; or

E     D Payment during the term of supervised release will commence within _ __ __               (e.g., 30 or 60 days) after release from
             imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F     !ill   Special instructions regarding the payment of criminal monetary penalties:
              The financial obligations are immediately payable to the Clerk of the Court for the U.S . District Court, 333
              Constitution Ave NW, Washington, DC 20001. Within 30 days of any change of address, you shall notify the Clerk
              of the Court of the change until such time as the financial obligation is paid in full.



Un less the court has expressly ordered othenvise, i fthisjudgment impose imprisonment, payment ofcriminal monetary penalties is due dur
                                                                                                                                      _ ing
the period of imprison ment. AJI criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' [nmate
Financial Responsibility Program, are made to the clerk of t he court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



D     Joint and Several

     Case Number
     Defendant and Co-Defendant Names                                                  Joint and Several                 Corr~sponding_ Payee,
      (including defendant number)                        Total Amount                      Amount                           1f appropriate




D    The defendant shall pay the cost of prosecution.

D    The defendant shall pay the following court cost(s):

D    The defendant shall forfeit the defendant's interest in the following property to the United States:



Payments shall be IIJ?plied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest (4) AV AA assessment,
(5) fine principal, (o) fine interest, (7) community restitu tion (8) JVTA assessment, (9) penalties, and (10) costs, including cost of
prosecution and court costs.
